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Case 2:12-cv-05547-PAYSR Document 1 Filed 06/26/12 Page 1of16 Page ID#1 |.

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rdconaway@gmail.com . —
Attorney for ELISE BROWN, Plaintiff
IN THE UNITED STATES DISTRICT COURT
FOR THE CENTRAL DISTRICT OF CALIFORNIA
CV 12 - 05549 4 (
ELISE BROWN, CASE No.
Plaintiff,
COMPLAINT FOR INJUNCTIVE
AND DECLARATORY RELIEF
V.
Fourteenth Amendment to United

DEBRA BOWEN, Calilfornia tates Constitution; 42 USC 1983;
Secretary of State Pection a3) the Voting Rights Act, 42

Defendant.

I. THE NATURE OF THE CASE

1. This is an action for declaratory and injunctive relief to enforce

the provisions of the Fourteenth and Fifteenth Amendments of the Constitution
of the United States and 2 of the Voting Rights Act of 1965 (“VRA”) , as amended
in 1982 or more commonly known of as 42 U.S.C. 1973, and to prevent
deprivation under color of state law, ordinance, regulation, custom or usage of the
rights, privileges and immunities secured by the aforementioned federal.
constitutional provisions and statute, and more specifically under the VRA’s 1982
reauthorization held that “minorities had a right [to not just vote] but to elect

representatives of their choice”, a right, that is now factually impossible in the

COMPLAINT FOR INJUNCTIVE AND DECLARATORY RELIEF
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upcoming November 2012 election for the vast majority of African Americans in
the 8" Congressional District because the Top 2 Primary law has left the field with
two candidates for the November election that are openly hostile to the rights and
interests of African American voters in the 8" Congressional District even were it
not for the significant traditional pro-Democrat voting history of African
Americans,

2. This action would have not been ripe for adjudication until such time
the election results were in and the resulting injury to the rights of African
Americans to participate in the general election in the 8" Congressional District
contest for Congress were concrete.

3. Additionally, this is an action for declaratory to obtain a ruling that
California’s Proposition 14 entitled the “Top Two Primaries Act [which took
effect April 19, 2011] that modified Article II, Section 5 of the California
Constitution and Section 6 of Article II of the California Constitution, is
unconstitutional as violating ELISE BROWN’s rights in the 8" Congressional
District in that:

(a) the first and fourteenth amendment right to freedom of association,
which protects the freedom to join and participate in the general election process
in furtherance of common political beliefs, which by its nature includes the right to
select and be able to vote for party nominees in the general elections [as per
United States Supreme Court in Democratic Party of the United States of America
v Wisconsin ex rel La Follette, 450 US 107 (1981) and reaffirmed in California
Democratic Party v Jones 530 US 567, 573-74 (2000)], the right of qualified
voters to cast their votes effectively [“which ranks amongst our most precious
freedoms” per Anderson v Celebreeze, 460 U.S. 780, 787-88, quoting Williams v
Rhodes, 393 U.S. 23, 30-31] and the right to have ideas compete through general
election candidates from each of the parties, is abridged as in the Top Two

Primaries Act, the top two candidates present race-hostile policy positions

COMPLAINT FOR INJUNCTIVE AND DECLARATORY RELIEF
-2-

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including but not limited to Craig Imus (the top vote getter in the 8" Congressional
District) wanting to only uphold the Constitution as it was written (which did not
recognize that anyone had the right to vote other than white males and only
counted African Americans as three-fifths of a person under Section 2 of Article 1
of the United States Constitution) and both Craig Imus and Paul Cook not
recognizing the right of women to control their reproductive health decisions, both
major issues for people of color in general elections such as the one coming up in
November. Paul Cook voted against an anti-discrimination bill (AB 1450 which
prohibited discrimination against unemployed workers, a class African Americans
lead percentage-wise in California, SB 185 which allowed race, ethnicity and
gender to be considered in college admission decisions).

(b) The retained right to vote in a federal general election for a democrat, a
practice that has existed all of Plaintiff's adult life and since the first election after
California was admitted to the Union, is a substantive due process right protected
under the 14" Amendment & Bush v Gore (2000), which recognized that State
citizens had rights in federal elections under the substantive due process clause of
the United States Constitution, rights now abridged by the conservative-only
republican-only general election in the 8 Congressional District./1

(c) California Election Code Section 8147 authorizes and directs the
California Secretary of State to issue certificates of nomination (note nomination
is singular) to candidates for Congress, which is contradicted when nomination is
of people from the same political party, an enlargement of power under statute.

//
//

1/ Districts with two republican “nominees” includes the 31* with Bob Dutton and Gary Miller,
leaving top vote getting democratic candidate Pete Aguilar out of the November general election
& in the 8" top Democratic vote getter Jackie Conaway will similarly not be in the general
election either. Districts where the two top voters are democrats, which could be affected by a
decision in this case include the 15" (Eric Stalwell-D), the 30" (Howard Berman-D), 33" (Chris.
David-R), 43 (Bob Flores-D), 44" (Laura Richardson-D) & the 40"(David Sanchez-D).

COMPLAINT FOR INJUNCTIVE AND DECLARATORY RELIEF
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If. JURISDICTION
4, The jurisdiction of this Court is invoked as to the Voting Rights
Act under Title 28 of the United States Code, 1331, 1343(3), 1343(4) and 2201,
this suit being authorized by Title 42 of the United States Code, 1983.

5. The jurisdiction of this Court as to the associational right claims is
based on the common law articulated in Democratic Party of the United States of
America v Wisconsin ex rel La Follette, 450 US 107 (1981) and reaffirmed in
California Democratic Party v Jones [530 US 567, 573-74 (2000)], which
recognized that “substantial intrusion into[ —_] associational freedom” occurs
when people are deprived of the right to vote for their candidate in the November
general election for federal offices.

HI. PARTIES

6. Plaintiff Elise Brown is an African American adult citizen, a long

time member of the California Democratic Party, the San Bernardino County
Democratic Central Committee by election, the California State Democratic
Party’s Central Committee, an officer of the Adelanto-Victorville Democratic
Club and proceeds in her own behalf and of those person similarly situated.

7. Plaintiff desires to participate in the electoral and political process for
the House of Representatives and to have her and all those similarly situated
persons’ votes counted on an equal basis with white citizens of San Bernardino
County by being able to vote for a Democratic candidate in the general election.

8. Defendant Secretary of State, Deborah Bowen is sued in her official
capacity only to the extent of her issuing a certificate of nomination for
Congressional races pursuant to State Election Code Section 8147 pursuant to the
Top 2 Primary law. As Bowen is the Chief Election Officer of the State of
California and has responsibility for the general supervision and administration of
the election laws, is responsible to obtain and maintain uniformity in the

application and administration of the election laws and issue a certificates of

COMPLAINT FOR INJUNCTIVE AND DECLARATORY RELIEF
-4.

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nomination for congress for each of the top voters for each party.

9. At all relevant times set out herein, defendant was and have been
acting under color of the statutes, ordinances, regulations, customs and usages of
the State of California.

IV. FACTS

10. Plaintiff as a democrat and an African American voter represents a
group that predominately votes for Democrats for federal offices in primary and
general elections and the registration numbers bears that disparity out. Since 1964
when African Americans voted democratic 82% of the time, 92% of the time in
1968 and with the exception of 1972, 1984 and the 1992 elections, African
Americans would continue to give at least 80% of the collective votes to
Democrats.

11. The 8" Congressional Districts break down as 8% African American,
35% Hispanic, 50% White.

12. Pursuant to California’s Proposition 14 entitled the “Top Two
Primaries Act”, which took effect April 19, 2011, modified Article II, Section 5 of
the California Constitution and Section 6 of Article II of the California
Constitution, effectively deprives African American voters of the right to vote:

(a) Prohibiting political parties which historically align with African
American voters from nominating candidates in a primary;

(b) Prohibits plaintiff and all those similarly situated from supporting a
federal candidate from their own political party of choice in the general election
by eliminating their candidate should he or she not be a top two vote getter in the
primary;

(c) Prohibiting the highest Democratic vote getter from representing the
democratic party in the November 2012 general election for the first time in 160
years of California and United States history;

(d) Creating voter confusion when they see only 2 republicans to vote for,

COMPLAINT FOR INJUNCTIVE AND DECLARATORY RELIEF
5.

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having come to the polls expecting to have a choice of voting for a democratic
candidate of their own choosing;

(e) Creating a severe restriction upon the exercise of their voting rights in
that for the first time, they will have to decide whether to vote at all for a non-
democratic candidate;

(f) Prohibiting write in voters that are Democrats from seeking to participate
in the November 2012 election;

(g) Taking away a fundamental right to be able to vote for a party champion
in a federal race in the general election;

(h) By having only republicans in the general election for a federal office,
depriving plaintiff and all those similarly situated of the right to associate by
supporting and voting for a Democratic candidate in the general election for
Congress;

(i) By the Secretary of State upholding a law like the Top 2 Primary which
compels the citizens to vote in a top two open primary in a district that has a
substantial advantage registration-wise for republicans as created by the so-called
non-partisan commission, the state is effectively empowering the Republican party
by declaring to plaintiff and all those similarly situated, that they no any longer
have a right to vote for a democratic candidate of their choice, in effect a state
action stripping political choice and are further stripping the people like plaintiff
and those similarly situation from having the back-up valve of being able to run a
write-in candidate of their choice;

(j) By having a Top 2 Primary System in a republican registration advantage
district, plaintiff and all those similarly situation are coerced to associate with the
republican candidates selected, should they wish to exercise their right to vote, by
voting for persons that philosophically and politically are diametrically opposed to
their interests and views in violation of plaintiff's and those similarly situated’s

tight to NOT associate or not exercising the fundamental right to vote.

COMPLAINT FOR INJUNCTIVE AND DECLARATORY RELIEF
-6-

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(k) Debra Bowen as the California Secretary of State is to issue under
Elections Code Sec. 8147 a certificates of “nomination” (a singular) reference,
for each top vote getter for each party, and to issue certificates of nomination for
people from the same party, facially contradicts the plain meaning of term.

13. The political processes leading to the general election in 2012 and
every two years thereafter in San Bernardino County are not equally open to
participation by African-Americans, in that African-Americans have less
opportunity than other members of the electorate to participate in the political
process and to elect candidates of their choice because of the Top 2 Primary.

14. African-Americans in San Bernardino County bear the effects of
discrimination in such areas as education, employment and health, which hinder
their ability to participate effectively in the political process.

15. In the entire history of San Bernardino County, no African-American —
has ever been elected to any countywide office and with the Top Two primary,
with 8.9% of San Bernardino County being African American, .6% in Inyo County
and .3% in Mono County [county-wise numbers per the 2012 Census] and a
created 10% registration advantage of Republican over democrat and a nearly 20%
decline-to-state budge on top of that, African American voters will have added to
their burden the result of having to choose between two conservative republicans
that garnered only 30.8% of the vote. |

VI. EQUITABLE RELIEF

16. There is a real and actual controversy between the parties and the
issue is ripe for adjudication. Plaintiffs have no adequate remedy at law other
than this action for injunctive and declaratory relief and to deny relief herein,
due to the percentage to population of African Americans, will strip African
Americans of their associational and other related civil rights as set forth herein
for the next decade.

17. Plaintiffs are and will continue to suffer irreparable injury as a result

COMPLAINT FOR INJUNCTIVE AND DECLARATORY RELIEF
-7-

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of the acts of Defendant complained of herein and that injury will continue unless
declared to be unlawful and enjoined by this Court.
V. CAUSES OF ACTION |
FIRST CLAIM FOR RELIEF
Fourteenth Amendment to the United States Constitution 42 U.S.C. §1983

18. Plaintiffs hereby reallege and incorporate by reference each of the 16
foregoing paragraphs.

19. Unless enjoined by this Court, Defendant on or about July 13,

2012 will prepare Certificates of Nomination for Congressional candidates under
California Election Code Sec. 8147.

20. Defendant, acting under color of state law, threatens to deprive
Plaintiffs including the individual Plaintiff of their fundamental right to vote.

21. Any holding (of using the Top 2 Primary results)results in the denial
or abridgment of the right of plaintiffs fundamental right under the 14"
Amendment in that Democrats have had the right to have a party representative in
the general election for Congress since California joined the Union over 160 years
ago. To now abolish that right by State Initiative and allow the Secretary of State
to prepare 2 nomination certificates for people from the same political party,
violates plaintiffs and all those similarly situated’s substantive due process right,
right of association and those rights otherwise reserved to the state, but not
enumerated in the Bill of Rights.

22. Plaintiff and all those similarly situated have always been able to vote
for a party champion since the first days of the republic, creating a federal voting
right that should not be abridged by State Action under the 14" Amendment and
the rationale in Bush v Gore.

23. Defendant, acting under color of state law, threatens to violate
Plaintiffs’ rights to equal protection, due process, and the privileges or immunities

of citizens of the United States guaranteed by the Fourteenth Amendment to the

COMPLAINT FOR INJUNCTIVE AND DECLARATORY RELIEF
-8-

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United States Constitution in that for the next decade, plaintiff and those similarly
situated will not be able to exercise their associational rights by voting for a
candidate that shares their concerns and priorities.
SECOND CLAIM FOR RELIEF
Section 2 of the Voting Rights Act, 42 U.S.C. $1973

24. Plaintiff hereby realleges and incorporate by reference each of the 22
foregoing paragraphs.

25. Section 2 of the Voting Rights Act, 42 U.S.C. §1973, prohibits voting
practices and procedures that result in the denial or abridgement of the right to
vote on account of race, color, or linguistic minority status.

26. The holding of using the Top 2 Primary results in the denial or
abridgment of the right of Plaintiffs to vote on account of race or color in
violation of 2 of the Voting Rights Act of 1965, 42 U.S.C. 1973, and these
election structures were adopted and have the effect of diluting, minimizing and
canceling out the voting strength of African-Americans in violation of the rights
of Plaintiffs secured by the Fourteenth and Fifteenth Amendments of the
Constitution of the United States, and 2 of the Voting Rights Act of 1965, 42
U.S.C. 1973 or in resulting dilution, minimizing and canceling out by a reckless
disregard of the substantial likelihood of creating a district where a democrat
would not be available for an African American to vote for, creating not only a
denial of choice and abridgement of associational rights in a federal election.

27. Unless enjoined by this Court, Defendant will on July 13, 2012
prepare Certificates of Nomination for Congressional candidates under California
Election Code Sec. 8147 a system of voting that abridges Plaintiffs’ right to vote
for the next decade in violation of Section 2 of the Voting Rights Act.

PRAYER FOR RELIEF
WHEREFORE, PLAINTIFFS respectfully request that this Court enter

judgment in their favor and the following relief:

COMPLAINT FOR INJUNCTIVE AND DECLARATORY RELIEF
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(1) Issue a temporary restraining order or such other preliminary injunctive
relief as is appropriate prior to the Secretary of State’s scheduled preparation of
the certificates of nomination on July 13, 2012 so that the court can first decide if
California’s Proposition 14 entitled the “Top Two Primaries Act [which took
effect April 19, 2011] that modified Article II, Section 5 of the California
Constitution and Section 6 of Article II of the California Constitution, violates the
1982 Reauthorization of the Federal Voting Rights Act by eliminating from the
November 2012 general election the top vote getting democratic candidate;

(2) Alternatively to No. (1), issue a temporary restraining order or such
other preliminary injunctive relief as is appropriate prior to the Secretary of State’s
scheduled preparation of the certificates of nomination on July 13, 2012 so that the
court can decide if California’s Proposition 14 entitled the “Top Two Primaries
Act [which took effect April 19, 2011] that modified Article II, Section 5 of the
California Constitution and Section 6 of Article II of the California Constitution,
violates the 1982 Reauthorization of the Federal Voting Rights Act, by abolishing
160 years of voting rights for ALL Californians that they be able to vote in a
general election for a candidate from the party they are members of, is unlawful;

(3) Issue a temporary restraining order or such other preliminary injunctive
relief as is appropriate based on the plain reading of Election Code 8147 which
refers to nomination certificates in the singular, requiring under historical tradition
and the plain meaning of the words, one nomination, for one person from each
party that ran;

(4) Alternatively, issue a temporary restraining order or such other
preliminary injunctive relief as is appropriate prior to the Secretary of State’s
scheduled preparation of the certificates of nomination on July 13, 2012 so that the
court can decide if California’s Proposition 14 entitled the “Top Two Primaries
Act [which took effect April 19, 2011] that modified Article II, Section 5 of the

California Constitution and Section 6 of Article II of the California Constitution,

COMPLAINT FOR INJUNCTIVE AND DECLARATORY RELIEF
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violates the first, fourteen and fifteen amendments of the United States
Constitution;

(5) Enter a declaratory judgment that ELISE BROWN’s and all those
Democrats similarly situated’s rights are violated by California’s Proposition 14
entitled the “Top Two Primaries Act” [which took effect April 19, 2011] that
modified Article II, Section 5 of the California Constitution and Section 6 of
Article II of the California Constitution, violates rights under Section 2 of the
Voting Rights Act as amended in 1982;

(5) Enter a declaratory judgment that ELISE BROWN’s and all those
Democrats similarly situated’s rights are violated first, fourteenth and fifteenth
amendment right to freedom of association, to cast their votes effectively;

(6) To restore the previous system that allowed the top vote getter from each
party to stand for election in the November 2012 election so to obtain and
maintain constitutional uniformity;

(7) Alternatively, should the court not set this motion and rule on it before
the Secretary of State prepares its certificates of nomination for Congressional
candidates, that the court, should it rule on the merits in plaintiff's favor, vacate
and expunge from the record the certificates of nomination prepared and issued,
and issue an order declaring the top voter getter from each party be only issued
certificates of nomination for the November 2012 general election.

(8) To award Plaintiffs the costs and expense of this action together with
their reasonable attorneys' fees; and

(9) To retain jurisdiction of this action and grant to Plaintiff(s) any further
relief which may, in the discretion of this Court, be necessary and proper.

DATED: June 25, 2012 Respectfully submitted,

COMPLAINT FOR INJUNCTIVE AND DECLARATORY PBMIEF
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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY

This case has been assigned to District Judge Perey Anderson and the assigned
discovery Magistrate Judge is Sheri Pym.

The case number on all documents filed with the Court should read as follows:

CV12- 5547 PA (SPx)

Pursuant to General Order 05-07 of the United States District Court for the Central
District of California, the Magistrate Judge has been designated to hear discovery related
motions.

All discovery related motions should be noticed on the calendar of the Magistrate Judge

NOTICE TO COUNSEL

A copy of this notice must be served with the summons and complaint on all defendants (if a removal action is
filed, a copy of this notice must be served on all plaintiffs).

Subsequent documents must be filed at the following location:

[X] Western Division [_] Southern Division Eastern Division
312 N. Spring St., Rm. G-8 411 West Fourth St., Rm. 1-053 3470 Twelfth St., Rm. 134
Los Angeles, CA 90012 Santa Ana, CA 92701-4516 Riverside, CA 92501

Failure to file at the proper location will result in your documents being returned to you.

CV-18 (03/06) NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY
Case 2:12-cv-05547-PA “SP\ Document 1 Filed 06/26/12 Page 13 of 16 Page ID #:13

UNITED STATES DISTRICT COURT, CENTRAL DISTRICT u& “ALIFORNIA
CIVIL COVER SHEET
I (a) PLAINTIFFS (Check box if you are representing yourself 2) DEFENDANTS

Elise Brown Debra Bowen, California Secretary of State

(b) Attorneys (Firm Name, Address and Telephone Number. If you are representing Attorneys (If Known)

yourself, provide same.)
Robert D. Conaway Bar No 119657 [760-256-0603]

222 East Main Street, Suite 212, Barstow CA 92311
Mailing address: PO Box 865, Barstow CA 92312-0865

Il. BASIS OF JURISDICTION (Place an X in one box only.) III, CITIZENSHIP OF PRINCIPAL PARTIES - For Diversity Cases Only
(Place an X in one box for plaintiff and one for defendant.)
11 U.S. Government Plaintiff 3 Federal Question (U.S. yr DEF PTF DEF
Government Not a Party) Citizen of This State 1 1 Incorporated or Principal Place O14 014
of Business in this State
O2U:S. Government Defendant 14 Diversity (Indicate Citizenship | Citizen of Another State O2 2 Incorporated and Principal Place O5 O05
of Parties in Item III) of Business in Another State
Citizen or Subject of a Foreign Country O13 03 _ Foreign Nation O6 06

IV. ORIGIN (Place an X in one box only.)

w1 Original (32 Removed from [13 Remanded from (14 Reinstated or (15 Transferred from another district (specify): [6 Mutlti- O17 Appeal to District
Proceeding State Court Appellate Court Reopened District Judge from
Litigation Magistrate Judge

V. REQUESTED IN COMPLAINT:
CLASS ACTION under F.R.C.P. 23: Yes No

JURY DEMAND: 1 Yes No (Check ‘Yes’ only if demanded in complaint.)
wf MONEY DEMANDED IN COMPLAINT: $_injunction, dec relief & atty fees

VI. CAUSE OF ACTION (Cite the U.S. Civil Statute under which you are filing and write a brief statement of cause. Do not cite jurisdictional statutes unless diversity.)
42 USC 1973,Section 2 of Voting Rights Act, 42 USC 1983 [voting rights of African Americans violated by California's Top 2 Primary]

VII, NATURE OF SUIT (Place an X in one box only.)

ate Reapportionment

00410 Antitrust Marine Airplane : Motions to Act

1430 Banks and Banking Miller Act (1315 Airplane Product |1 370 Other Fraud Vacate Sentence [1 720 Labor/Mgmt.

© 450 Commerce/ICC Negotiable Instrument Liability 0 371 Truth in Lending Habeas Corpus Relations
Rates/ete, Recovery of 1320 Assault, Libel & 17380 Other Personal {1530 General 1730 Labor/Mgmt.

0460 Deportation Overpayment & Slander , Property Damage {11 535 Death Penalty Reporting &

(9.470 Racketeer Influenced Enforcement of 11330 Fed. Employers’ [4 3g5 Property Damage {Z1 540 Mandamus/ Disclosure Act
and Corrupt Judgment Liability Product Liabili Other 0740 Railway Labor Act
Organizations (1151 Medicare Act Oats ene oduct (1550 CivilRights {1790 Other Labor

0 480 Consumer Credit 0152 Recovery of Defaulted Liability (4422 Appeal 28 USC |01555_ Prison Condition Litigation

11490 Cable/Sat TV Student Loan (Excl. 11350 Motor Vehicle 158 Empl. Ret. Inc.

810 Selective Service Veterans) 11358 Motor Vehicle 0423 Withdrawal 28 i

(1) 850 Securities/Commodities/]0 153 Recovery of USC 157 Agriculture

Exchange

Product Liability

Other Food &

Copyrights

Overpayment of (1360 Other Personal

O 875 Customer Challenge 12 Veteran’s Benefits Injury oting Drug Patent

USC 3410 01160 Stockholders’ Suits 1362 Personal Injury. 1442 Employment (1625 Drug Related
(890 Other Statutory Actions {0 190 Other Contract Med Malpractice 71 443 Housing/Acco- Seizure of .
0 891 Agricultural Act 1195 Contract Product (1365. Personal Injury- mmodations Property 21 USC
0 892 Economic Stabilization Liability Product Liability |[11 444 Welfare 881 O 862 Black Lung (923)

Act 0 196 Franchise (1368 Asbestos Personal |) 445 American with [01630 Liquor Laws 0 863 DIWC/DIWW
0 893 Environmental Matters |: TYoues Injury Product Disabilities - 0640 RR. & Truck (405(g))
0 894 Energy Allocation Act }[11210 Land Condemnation iabili Employment 0650 Airline Regs QO 864 SSID Title XVI
01 895 Freedom of Info. Act [1 220 Foreclosure American with {£1660 Occupational
11900 Appeal of Fee Determi- | 230 Rent Lease & Ejectment | 462 Naturalization Disabilities - Safety /Health

nation Under Equal (1240 Torts to Land Application Other 1690 Other

Access to Justice (1245 Tort Product Liability |[463 Habeas Corpus-  /[} 440 Other Civil or Defendant)
01950 Constitutionality of 1290 All Other Real Property Alien Detainee Rights (1 871 IRS-Third Party 26

State Statutes 0465 Other Immigration USC 7609

Actions
g - 05547 p
Vv 1 2 e. Qn
7 UP:

FOR OFFICE USE ONLY: — Case Number: 4

AFTER COMPLETING THE FRONT SIDE OF FORM CV-71, COMPLETE THE INFORMATION REQUESTED BELOW.

CV-71 (05/08)

CIVIL COVER SHEET

JUN 26 2012,

Page | of 2
Case 2:12-cv-05547-PA-SP\ Document 1 Filed 06/26/12 Page 140f16 Page ID #:14

\
UNITED STATES DISTRICT COURT, CENTRAL DISTRICT \ CALIFORNIA
CIVIL COVER SHEET

VII(a). IDENTICAL CASES: Has this action been previously filed in this court and dismissed, remanded or closed? WNo (Yes
If yes, list case number(s):

VIII(b). RELATED CASES: Have any cases been previously filed in this court that are related to the present case? WNo 0 Yes
If yes, list case number(s):

Civil cases are deemed related if a previously filed case and the present case:
(Check all boxes that apply) OA. Arise from the same or closely related transactions, happenings, or events; or
OB. Call for determination of the same or substantially related or similar questions of law and fact, or
OC. For other reasons would entail substantial duplication of labor if heard by different judges; or
OD. Involve the same patent, trademark or copyright, and one of the factors identified above in a, b or c also is present.

IX, VENUE: (When completing the following information, use an additional sheet if necessary.)

(a) List the County in this District; California County outside of this District; State if other than California; or Foreign Country, in which EACH named plaintiff resides.
Check here if the government, its agencies or employees is a named plaintiff. If this box is checked, go to item (b).

County in this District:* California County outside of this District; State, if other than California; or Foreign Country

San Bernardino County

(b) List the County in this District; California County outside of this District; State if other than California; or Foreign Country, in which EACH named defendant resides.
Check here if the government, its agencies or employees is a named defendant. If this box is checked, go to item (c).

County in this District:* California County outside of this District; State, if other than California; or Foreign Country

Sacramento County

(c) List the County in this District; California County outside of this District; State if other than California; or Foreign Country, in which EACH claim arose.
Note: In land condemnation cases, use the location of the tract of land involved,

County in this District:* California County outside of this District; State, if other than California; or Foreign Country

San Bernardino County Inyo, Mono

* Los Angeles, Orange, San Bernardino, Riverside, Ventura, Santa B:
Note: In land condemnation cases, use the location of the tract of land j

X. SIGNATURE OF ATTORNEY (OR PRO PER):

Notice to Counsel/Parties: The CV-71 (JS-44) cn Sheet and the information contai
or other papers as required by law. This form, approve by the Judicial Conference of the Unijéd Statg#'in September 1974, is required pursuant to Local Rule 3-1 is not filed
but is used by the Clerk of the Court for the purpose of statistics, venue and initiating the ciy{l docyét sheet. (For more detailed instructions, see separate instructions sheet.)

Key to Statistical codes relating to Social Security Cases: Xx
Nature of Suit Code Abbreviation Substantive Statement of Cause of Action

861 HIA All claims for health insurance benefits (Medicare) under Title 18, Part A, of the Social Security Act, as amended.
Also, include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the
program. (42 U.S.C. 1935FF(b))

862 BL All claims for “Black Lung” benefits under Title 4, Part B, of the Federal Coal Mine Health and Safety Act of 1969.
(30 U.S.C. 923)

863 DIWC All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as
amended; plus all claims filed for child’s insurance benefits based on disability. (42 U.S.C. 405(g))

863 DIWW All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security
Act, as amended. (42 U.S.C. 405(g))

864 SSID All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Security
Act, as amended.

865 RSI All claims for retirement (old age) and survivors benefits under Title 2 of the Social Security Act, as amended. (42
U.S.C. (g))

CV-71 (05/08) CIVIL COVER SHEET Page 2 of 2
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AO 440 (Rev. 06/! 2) Suizimons in a Civil Action

for the
é $ Central District of California |

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ecyhee Brown,

UNM gB STATES DISTRICT COURT

Plaintiff(s) eV 3

Vv.

Civil MAS 4 7 PA

Debra Bowen, California Secretary of State

BG

Defendant(s)

SUMMONS IN A CIVIL ACTI
To: (Defendant's name and address) Debra Bowen
California Secretary of State €.,

AS
1500 11th Street 4, {er vf

Sacramento CA 9581 "

A lawsuit has been filed agaist Pall.
e fs fe ee .
Within 21 days after s Sei8e of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed, R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Robert D, Conaway
222 East Main Street, Suite 212, Barstow CA 92311
Mailing address: PO Box 865, Barstow CA 92312-0865

Qin

If you fail to respond, judgment by default will be entered against you for the relief demanded i
You also must file your answer or motion with the court, Gy
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Date:

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& Deputy Clerk

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- * Case 2:12-cv-05547-PA-$P ) Document 1 Filed 06/26/12 Page 16 of 16 Page ID #:16
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j AO 440 (Rev, 06/12) Summons in a Civil Action (Page 2)

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Civil Action No.

PROOF OF SERVICE :
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ()) |

This summons for (name of individual and title, if any)

was received by me on (date)

( I personally served the summons on the individual at (place)

on (date) : or

{ I left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

On (date) , and mailed a copy to the individual’s last known address; or

( [ served the summons on (name of individual) ! , who is

designated by law to accept service of process on behalf of (name of organization)

on (date) . ; or
© [returned the summons unexecuted because ; oF
() Other (specify):
My fees are $ for travel and'$ for services, for a total of $ 0.00
———____— _—_——____—- jp

| declare under penalty of perjury that this information is true.

Date:

Server's signature

Printed name and title

Server's address

Additional information regarding attempted service, ete:
